UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                             2/10/2023
RYAN O’DELL,

                     Plaintiff,

               - against -                      23 Civ. 556 (VM)

CINCOR PHARMA, INC., et al.,

                     Defendants.


WILLIAM JOHNSON,

                     Plaintiff,

               - against -                      23 Civ. 646 (VM)

CINCOR PHARMA, INC., et al.,

                     Defendants.


KATHLEEN CATALDI,

                     Plaintiff,
                                                23 Civ. 1013 (VM)
               - against -
                                                    ORDER
CINCOR PHARMA, INC., et al.,

                     Defendants.


VICTOR MARRERO, United States District Judge.

     Upon review of the complaints and other papers filed

with the Court in connection with the cases captioned above,

the Court noted that in all material respects, the complaints

describe the same or substantially similar underlying events

arising out of the same or substantially similar operative

facts, and assert the same or substantially similar claims
against   the   same   or    substantially          similar       defendants.

Accordingly, it is hereby

     ORDERED    that   the   Clerk     of        Court    is     directed    to

consolidate these actions for pretrial purposes; and it is

further

     ORDERED    that   all   filings        in     connection      with     the

consolidated action be docketed against the lowest numbered

case, 23 Civ. 556; and it is finally

     ORDERED    that   the   Clerk   of     Court        close    the   above-

referenced higher numbered cases, 23 Civ. 646 and 23 Civ.

1013, as separate actions and remove them from the Court’s

docket.



SO ORDERED.

Dated:    10 February 2023
          New York, New York
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                                                  Victor Marrero
                                                     U.S.D.J.




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